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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
UNITED STATES OF AMERICA,                             :              CASE NO. 1:13CR00520-003
                                                      :
         Plaintiff,                                   :
                                                      :
vs.                                                   :              ORDER
                                                      :
MARIANNE STEFANIK,                                    :
                                                      :
         Defendant.                                   :
                                                      :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:



        A Report and Recommendation issued by United States Magistrate Judge Nancy Vecchiarelli

was filed on December 30, 2013 [Doc. 29] recommending that defendant’s plea of guilty be

accepted and a finding of guilty be entered by this Court.

        The Court hereby adopts the Report and Recommendation, accepts the defendant’s plea of

guilty and enters a finding of guilty.

        IT IS SO ORDERED.



Dated: March 31, 2014                                           s/       James S. Gwin
                                                                JAMES S. GWIN
                                                                UNITED STATES DISTRICT JUDGE




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